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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA. et al., *
Plaintiffs, *
Vv. * Civil Action No. 8:25-cv-00951-PX
KRISTI NOEM, e¢ ai., *
Defendants. *

ORDER

During further proceedings in this matter, no person may possess or transport into the
courtroom any electronic devices, to include cellular telephones, cameras, recording devices of
any type including “smart” watches and “smart” pens, “smart glasses” and/or computers, to
include laptops and tablets, without the express permission of the presiding judge. This
restriction shall not apply to employees of the United States District Court for the District of
Maryland, the United States Marshal or his Deputies, Court Security Officers, counsel of
record in this case, employees of state and federal law enforcement agencies, and/or investigators
and employees of counsel representing parties in the case, provided those investigators and
employees of counsel are identified to the Court in advance. All persons subject to this Order

are advised not to bring any such electronic devices to the courthouse.
The United States Marshal, his Deputies, and the Court Security Officers shall enforce

this Order.

Date: April 1, 2025 IS/

Paula Xinis
United States District Judge

